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                         UNITED STATES DISTRICT COURT

                             DISTRICT OF NEVADA

                                         ***

  L.G. a minor, by and through his
  parent and natural guardian JEFF
  GORELICK;                                    Case No.: 3:22-cv-00228-MMD-CLB

         Plaintiff,
                                               PLAINTIFF’S EX PARTE MOTION
                                               FOR TEMPORARY RESTRAINING
         vs.
                                               ORDER AND PRELIMINARY
                                               INJUNCTION
  WASHOE COUNTY SCHOOL
  DISTRICT, a political subdivision of
  the State of Nevada; Superintendent
  of the Washoe County School District
  KRISTEN MCNEILL; and Washoe
  County School District Area
  Superintendent MICHAEL PAUL.
  __________________________________/


      COMES NOW, Plaintiff L.G., a minor, by and through his parent and natural

guardian JEFF GORELICK, by and through the undersigned counsel, and hereby

files the following Ex Parte Motion for Temporary Restraining Order and Preliminary

Injunction against WASHOE COUNTY SCHOOL DISTRICT (“WCSD”);

Superintendent of the Washoe County School District KRISTEN MCNEILL


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    (“McNeill”) and Washoe County School District Area Superintendent DR. MICHAEL

    PAUL (“Paul”) for violation of L.G.'s right to be free from unlawful seizure in violation

    of the Fourth Amendment to the United States Constitution.

          This motion is made and based upon all the pleadings and records on file for

    this proceeding together with every exhibit that is mentioned herein or attached

    hereto (each of which is incorporated by this reference as though it were set forth

    herein haec verba), if any there be, as well as the points and authorities set forth

    directly hereinafter.

                      MEMORANDUM OF POINTS AND AUTHORITIES

          Background

          SafeVoice1 is an anonymous reporting system used to report threats to the

    safety or well-being of students in Nevada schools. SafeVoice was established by

    the Nevada Department of Education under Senate Bill 212 in 2017 to prevent

    violence at schools. SafeVoice is administered by the Nevada Department of

    Education in coordination with Nevada Department of Public Safety, and provides

    students a phone line and an app to submit anonymous tips concerning their own

    safety or that of others. SB 212 is codified in NRS 388.1451 et seq.

          L.G. is a well known student by the administration at Reno High. L.G. is

    scheduled to graduate from Reno High in 2022, a year early due to his taking extra

    classes. L.G. takes advanced placement and honor level courses. L.G. is a

    politically active student at Reno High School. He is a campaign finance intern for

    Senator Cortez Masto. L.G. is also involved in groups like Students Demand Action,



1
    http://safevoicenv.org/
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High School Democrats. L.G. frequently posts on his social media promoting his

political views, and sits on the safety committee as a student representative at Reno

High. L.G. has also appeared at several WCSD school board meetings and has

provided public comment on several issues facing public schools. See Verified

Complaint at EFC #1.

      On or about May 5, 2022 during the lunch period, school police officer Webb

approached L.G. and told him that the school had received an anonymous tip from

SafeVoice that L.G. had brought a firearm to school. L.G. voluntarily offered to let

Officer Webb search his truck. Officer Webb searched L.G.'s truck and, satisfied

that there was no weapon, then told L.G. he did not need to look in his backpack.

Officer Webb was polite and professional and L.G. had no objection to cooperating

with him. Id.

      Later on May 5, 2022, Dean of Students Brian La Torre, along with officer

Webb came to L.G., in a school hallway and searched his bag in response to

another anonymous tip from SafeVoice. L.G. voluntarily consented to this search.

There was no weapon of any sort in the backpack. Id.

      On or about May 6, 2022 Assistant Principal Krista Kruger came to L.G.'s

classroom and advised that they had received yet another anonymous tip from

SafeVoice and then asked L.G. to come to the back of the class where they again

searched his backpack. Kruger did not seek consent for this search. L.G. did not

provide express consent for this search but he did not object. Again, there was no

weapon in L.G.’s backpack. Id.




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      On or about May 9, 2022 Krista Kruger and Brian La Torre came to L.G.’s

classroom and advised the teacher that they had another anonymous tip from

SafeVoice and needed to search his backpack. Krista Kruger and Brian La Torre

took L.G.’s bag without consent and started the search before L.G. had time to get

to the back of the room. L.G. again neither consented nor objected because he was

unsure if he had the right to deny access. L.G.’s bag was searched again with no

weapon being found. As the meeting was wrapping up, L.G. said “are you guys

going to search my truck?" To which they responded that they probably should.

L.G.’s truck was the searched by Krista Kruger and Assistant Principal Teri Salgado.

Id.

      Also on or about May 9, 2022 L.G. asked Officer Webb if he could refuse

consent to the searches in response to the anonymous tips from SafeVoice, to

which Officer Webb responded that L.G. could refuse consent. Also on or about

May 9, 2022, L.G. asked l Krista Kruger if he was required to consent to the

searches. Kruger told L.G. “no” but indicated L.G.’s parents would be called to seek

consent if he refused. L.G. asked Kruger what would happen if his parents refused

consent for the searches. L.G. was told by Kruger that he could return to class as

usual, as the school had no further ability to conduct the search. Id.

      On May 16, 2022 LG was asked by Brian La Torre to submit to a search again

based on an additional anonymous tip from SafeVoice. L.G. said “I am not doing

this again; I have the right to deny a search.” The search did not occur and L.G.

was then permitted to return to class. Id.




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     Also on May 16, 2022, near the end of the school day, Reno High Principal

Kris Hackbusch advised L.G. that he would not be permitted to return to class until

he submitted his backpack to a search. Id.

     On May 16, 2022 Jeff Gorelick emailed Principal Hackbusch in an attempt to

persuade the searched of L.G. to be discontinued in response to anonymous tips

because L.G. is a good student with no discipline issues, that the searches to date

had proven that the anonymous reports were false, and that continued search

violated L.G.’s constitutional rights. See Exhibit 1 to Verified Complaint at ECF #1-1.

     On May 17, 2022 L.G. and his father Jeff Gorelick went to Reno High School

at 7:00 a.m. to discuss the searches that L.G. was subject to. A meeting was held

in Principal Hackbusch’s office and was recorded with the permission of all parties.

The recording of the meeting is attached hereto as Exhibit 2 to Verified Complaint at

ECF #1-2. Principal Hackbusch, Krista Kruger, and school district police officer

named Jeff (last name not recalled) attended the meeting. Principal Hackbusch

stated that he was advised by his superiors that he had the obligation to conduct a

search of L.G.’s before he would be allowed to return in person to school with his

backpack. Yet, Principal Hackbusch stated that if a SafeVoice tip is received about a

weapon it was “protocol” to conduct a mandatory search. Id. Jeff Gorelick advised

that he had looked L.G.’s backpack and there was no weapon. L.G. refused the

search and was advised that he could not attend classes with his backpack (which

contained necessary books and his computer used to take notes). Everyone

present shook hands and the meeting ended with L.G. returning home.




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     On May 17, 2022 prior to 9 a.m. in the morning Jeff Gorelick placed a

telephone call to Dr. Michael Paul, Area Superintendent for the Reno High School

area for WCSD. That call was returned in the late afternoon. Gorelick asked Dr. Paul

if there was a written protocol requiring a search of student personal property every

time an anonymous tip was received through SafeVoice. See Declaration of Jeff

Gorelick in Exhibit 3 attached to the Verified Complaint at ECF #1-3. Dr. Paul

responded that he didn’t know if the protocol was written but that was in fact the

protocol. He further stated that if it happened a hundred times the searches would

be conducted a hundred times and it did not matter who the student was or the

student’s history with the school. Paul stated that if there was a one tenth of one

percent chance of a weapon being in the backpack they would conduct the search

in the interest of student safety. Gorelick asked if Paul would forward any written

policy to him and that ended the call. Id.

     The evening of May 17, 2022, L.G.’s mother Allison Gorelick wrote an email to

Superintendent McNeill and certain members of the school board, attached as

Exhibit 4 to the Verified Complaint at ECF #1-4. The email sought to have the board

and Superintendent McNeill address the policy of requiring a search of a student in

response to an anonymous tip from SafeVoice, even where such a search is

unreasonable.

     On May 18, 2022 Superintendent McNeill responded by email defending the

policy and forwarding several items including the Student Behavior- Administrative

Procedures Manual. The email is attached as Exhibit 5 to the Verified Complaint at

ECF #1-5. McNeill contended that the required searches of L.G. were justified,


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despite indicating that WCSD had “reached out at the state level of the SafeVoice

system and are working with them to look into the recent tips concerning Lucas

about a possible misuse of the system.” Id. A copy of the Student Behavior

Administrative Procedures Manual forwarded by McNeill in her email is attached to

the Verified Complaint as Exhibit 6 at ECF #1-6. However, the manual contains no

automatic search protocol, rather it states that an unconsented search can only be

conducted on reasonable suspicion by the administrator that the student

possesses a weapon. See Exhibit 6 to the Verified Complaint at ECF #1-6 page 55.

The manual defines “Reasonable Suspicion” as follows:

     Reasonable Suspicion

     a. In those cases requiring a reasonable suspicion as the basis for the
     search, the school official or employee authorizing the search shall
     have a reasonable suspicion that the fruits or implements of a crime or
     unlawful act will be found, or that a weapon or other material the
     possession of which is prohibited by law or by school district rules,
     regulation or policies will be found.

     b. A reasonable suspicion is a subjective, good faith belief supported
     by objective facts, which may include, but are not limited to, the
     student's age, history and record in the school, the reliability of the
     information giving rise to the suspicion and the seriousness and
     prevalence of the problem in the school.

     c. The required "reasonable suspicion" must be based on facts relating
     to a particular student whose person, belongings, automobile, desk or
     locker is to be searched and such suspicion must arise immediately
     prior to the proposed search.

Id. at ECF #1-6 page 56.

     The actual policy followed by WCSD, as described by Paul and McNeill, is to

require a search of any student in response to any anonymous tip from SafeVoice,

despite the reasonableness (or not) of doing so. This de facto policy is


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straightforwardly unconstitutional, and inconsistent with WCSD’s express written

policies.

      Jurisdiction and Venue

      This Court has jurisdiction pursuant to 28 U.S.C. 1331 (federal question), 28

U.S.C. 1343 (civil-rights violations), 28 U.S.C. 2201 (declaratory relief), and 28

U.S.C. 2202 (injunctive relief).

      Standard of Review

      A preliminary injunction may be awarded upon a clear showing that the

plaintiff is entitled to such relief. Winter v. Natural Res. Def. Council, 555 U.S. 7, 22

(2008). A plaintiff seeking a preliminary injunction must show that: (1) the plaintiff is

likely to succeed on the merits; (2) the plaintiff is likely to suffer irreparable harm in

the absence of preliminary relief; (3) the balance of equities tips in favor of the

plaintiff; and (4) an injunction is in the public interest. Id. at 20. In other words, as

described by the 9th Circuit, a preliminary injunction may be granted if there is a

likelihood of irreparable injury to plaintiff; there are serious questions going to the

merits; the balance of hardships tips sharply in favor of the plaintiff; and the

injunction is in the public interest. M.R. v. Dreyfus, 697 F.3d 706, 725 (9th Cir. 2012)

(citing Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-32 (9th Cir.

2011). This same standard applies to a request for a temporary restraining order.

See Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir.

2001), overruled on other grounds in Winter.

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      Analysis

      a. Likelihood of Success on the Merits

      L.G. has plead three causes if action in the Complaint: (1) 42 U.S.C. 1983

claim for violation of his 4th Amendment right to be free from unreasonable

searches; a 42 U.S.C. 1983 Monell claim because the actions of WCSD are a policy

and practice of WCSD; and a claim for Injunctive Relief.

      “[T]he existence of a right violated is a prerequisite to the granting of an

injunction.” State Farm Mut. Auto. Ins. Co. v. Jafbros Inc., 109 Nev. 926, 928, 860

P.2d 176, 178, 1993 WL 385119 (1993) quoting 43 C.J.S. § 18 Injunctions (1978).

L.G. has a protected liberty interest under the 14th Amendment in a public

education and to attend public school. Goss v. Lopez, 419 U.S. 565, 567, 95 S. Ct.

729, 732 (1975).

      The Fourth Amendment's "prohibition on unreasonable searches and seizures

applies to searches conducted by public school officials." New Jersey v. T.L.O., 469

U.S. 325, 333, 105 S. Ct. 733, 83 L. Ed. 2d 720 (1985). Whether such a search is

permissible "depend[s] simply on the reasonableness, under all the circumstances,

of the search." Id. at 341. A determination of reasonableness requires "a twofold

inquiry: first, one must consider 'whether the action was justified at its inception;'

second, one must determine whether the search as actually conducted 'was

reasonably related in scope to the circumstances which justified the interference in

the first place.'" Id. (quoting Terry v. Ohio, 392 U.S. 1, 20, 88 S. Ct. 1868, 20 L. Ed.

2d 889 (1968)). T.L.O.'s two-part test in the school setting is a limited exception to

the warrant and probable cause requirement of the Fourth Amendment. See


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Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 653, 115 S. Ct. 2386, 132 L. Ed. 2d

564 (1995).

     Under the first prong of the T.L.O analysis, a school official must have a

particularized and objective basis for suspecting legal wrongdoing by a student to

justify a search. See United States v. Arvizu, 534 U.S. 266, 273 (2002). (“[A]n

anonymous tip alone seldom demonstrates the informant’s basis of knowledge or

veracity…”. Alabama v. White, 496 U.S. 325, 329 (1990). A "totality of the

circumstances" approach is used to determine whether an informant's tip

establishes probable cause - factors including the veracity, reliability, and basis of

knowledge of the informant are highly relevant in determining the value of the

informant's report. Id. at 326. Anonymous tips submitted against L.G. via SafeVoice

alone do not constitute a reasonable basis for a search, where multiple recent prior

false anonymous tips have been submitted to SafeVoice against L.G.

     L.G.’s claim for injunctive relief against McNeil and Paul should succeed

because there is a sufficient causal connection between Paul and McNeill’s direction

to Reno High employees that L.G. is required to be searched and not be permitted

to attend school until he consents to be searched, and, hence, the constitutional

violation. Hansen v. Black, 885 F.2d 642, 645-46 (9th Cir. 1989). Moreover, for

liability to attach, McNeill and Paul have actual supervisory authority over the Reno

High employees who committed the violations of L.G.’s rights. Felarca v. Birgeneau,

891 F.3d 809, 820 (9th Cir. 2018).

     In People ex rel. C.C.-S., 2021 COA 127 (Colo. App. 2021), a search and

seizure of a Colorado student by school officials based solely on an anonymous tip


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received through Colorado’s Safe2Tell hotline, which is Colorado’s version of

SafeVoice, did not satisfy the Fourth Amendment, and resulted in overruling a the

denial if a suppression of evidence motion where the student had marijuana in his

backpack.

     L.G.’s Monell claim against WCSD should succeed as well because all actions

of McNeill are a policy or custom of WCSD. See Jett v. Dallas Independent School

District, 491 U.S. 701, 737 (1989), a policy or custom becomes official when it

results from the decision or acquiescence of the municipal officer or body with final

policymaking authority over the subject matter of the offending policy. Local

governments are liable for underlying 42 U.S.C. 1893 claims if the deprivation is the

result of the agency’s custom, policy, or practice. Monell v. New York City

Department of Social Services, 436 U.S. 658 (1978). See also Anderson v. Warner,

451 F.3d 1063, 1070 (9th Cir. 2006). McNeill, as superintendent of WCSD, was the

officer with final policymaking authority within WCSD, including over the decision to

continue to require searches of L.G. despite the unreasonableness of doing so in

light of the multiple false reports already received against L.G. via SafeVoice.

     In order to bring a successful Monell claim, L.G. must show "(1) that he

possessed a constitutional right of which he was deprived; (2) that the WCSD had a

policy; (3) that the policy amounts to deliberate indifference to L.G.’s constitutional

right; and (4) that the policy is the moving force behind the constitutional violation."

Id. L.G. has a constitutionally protected right to be free from unreasonable searches,

yet, L.G. has been repeatedly searched based on anonymous tips alone, and WCSD

and the defendants have shown deliberate indifference to his rights to be free from


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unreasonable searches by maintaining that such searches are required despite L.G.

and his father’s repeated protests to the basis for the searches. The moving force

behind the searches is the policy of WCSD to automatically search a student in

response to an anonymous tip to SafeVoice despite the fact that the search may be

otherwise entirely unreasonable, and as such, unconstitutional.

     b. Irreparable Harm

     For a temporary restraining order or preliminary injunction to issue, the

moving party must show that the nonmoving party’s conduct, should it continue,

would cause irreparable harm for which there is no adequate remedy at law. Dep’t.

of Conservation & Natural Res. v. Foley, 121 Nev. 77, 80, 109 P.3d 760, 762 (2005).

Where Defendants are likely violating a Plaintiff's constitutional rights, such

violations constitute irreparable injury for purposes of issuing an injunction. Elrod v.

Burns, 427 U.S. 347, 373 (1976). L.G. will suffer irreparable harm if he is denied his

right to attend school. L.G. has been prevented from attending his classes at Reno

High in preparation for finals and for graduation - this is time that cannot be given

back to L.G. after it has passed.

     c. Balance of the Equities

     The equities in this case tip sharply in favor of relief for L.G. because of the

facial strength of his claim. WCSD flatly refuses to comply with the plain and well

established requirements of the 4th Amendment as well as its own policies

requiring that searches of students be reasonable. WCSD has repeatedly searched

L.G. based on the anonymous tips provided through SafeVoice, and the tips have

been repeatedly shown to be false. There is no reasonable basis for WCSD to claim


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that the safety of its students would be jeopardized if L.G. is permitted to attend

school.

      d. The Public Interest Is Served

      An injunction in this matter will not have any impact beyond the parties to this

case, as such, this factor should carry little weight in the Court’s analysis.

Hernandez v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017) citing Stormans, Inc. v.

Selecky, 586 F.3d 1109, 1139 (9th Cir. 2009). However, the public has a strong

interest in preventing the violation of a party’s constitutional rights, and as such this

factor weighs in L.G.’s favor as well. Id. at 996.

      e. Bond

      Pursuant to FRCP 65,”…the court may issue a preliminary injunction or a

temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found

to have been wrongfully enjoined or restrained.” Federal courts have discretion as

to the amount of security and may even dispense with the security requirement

altogether where the relative hardships of the parties and the likelihood of success

on the merits and concludes that to require any security would be unjust. See

Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009). No bond should be

required in this matter for the issuance of the requested injunction because

issuance of the injunction will not result in any costs to WCSD.

      Conclusion

      Based on WCSD’s demonstrated lack of compliance with its own rules and

regulations as well as the 4th Amendment, the Court should issue a temporary


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restraining order or preliminary injunction allowing L.G. to attend class at Reno High

and to prevent WCSD from conducting any further unlawful searches of L.G. based

solely on anonymous tips from SafeVoice.

     WHEREFORE, L.G. requests that the Court provide the following relief:

     (1) Schedule a hearing to receive evidence if the Court deems necessary; and

     (2) Issue a temporary restraining order or preliminary injunction against WCSD

requiring WCSD to allow L.G. to attend class at Reno High and to prevent WCSD

from conducting any further unlawful searches of L.G. based solely on anonymous

tips from SafeVoice.

                   RESPECTFULLY SUBMITTED this May 24, 2022:

                                   By: ____/s/ Luke Busby, Esq. _____

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                                     Attorney for the Plaintiff




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                                  CERTIFICATION

     Pursuant to the requirements of FRCP 65(b)(1)(B), the undersigned counsel for

L.G. certifies that on May 23, 2022 at approximately 11:50 a.m. an email was sent to

counsel for WCSD, Mr. Neil Rombardo and Mr. Chris Reich, notifying WCSD of the

Plaintiff's intent to seek a temporary restraining order and apprising WCSD of the

basic facts underlying this dispute. On May 23, 2022, Counsel for WCSD, Andrea L.

Schulewitch, responded and corresponded with the undersigned counsel regarding

the Plaintiff's intent to seek a temporary restraining order. On May 24, 2022, counsel

Schulewich confirmed that L.G. will not be permitted to return to class by WCSD in

person with his backpack until his backpack is searched.


                   RESPECTFULLY SUBMITTED this May 23, 2022:

                                  By: ____/s/ Luke Busby, Esq. _____

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